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                          IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH CAROLINA



          UNITED STATES OF AMERICA                               Criminal Case No. 8:18-750

                           V.
                                                                 RESTITUTION ORDER ON
                                                                 PRETRIAL DIVERSION
          CHARLENE BR ACH


The court has been advised that Charlene Brach has entered into a Pretrial Diversion Agreement
dated January 7, 2019, with the United States Attorney’s office.

The Pretrial Diversion Agreement includes a condition that requires Charlene Brach to make
restitution to the following payee in the amount listed below. The defendant is required to make
payment toward this debt as instructed in the Pretrial Diversion Agreement.

                           Name of Payee                         Total Amount Due
               Federal Bureau of Prisons           $ 13,008.50


               Grand Total                         $ 13,008.50

Unless otherwise directed, restitution payments should be made payable to the Clerk of
Court for the United States District Court, 901 Richland Street, Columbia, South Carolina
29201.

It is ORDERED that the clerk of court accept and receive restitution payments from Charlene
Brach and disburse them to the payee above in accordance with the Pretrial Diversion Agreement
and in the manner in which restitution payments are received and disbursed for criminal
judgments. Any changes to the payment plan or delinquencies shall remain a matter for the U.S.
Attorney’s Office to address.

Donald C. Coggins, Jr, U.S.District Judge           s/ Donald C. Coggins Jr.
                                                  _______________________________________
Name and Title of Judge                                          Signature of Judge



                                                     February 5, 2019
                                                   __________________________________________________________
                                                                  Date
